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                EXHIBIT A
2019/12/04.005322.29.004VK
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                                                                                                              E-FIL =D
                                                                                                      IN COUNTY CLE RK'S OFFICE
                                                                                                    PIERCE COUNTY WASHINGTON
                                                                  Insurance Commissioner
                                                                  ACCEPTED SOP                          October 25 20 911:42 AM
        1                                                                                                     KEVIN S rOCK
                                                                     NOV 2 6 2019                            COUNTY :LERK
        2                                                                                                 NO: 19-2-   1723-6
                                                                    TIME:
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        4

        5                 IN THE SUPERIOR COURT OF THE STATE OF WASHINGTON
                                    IN AND FOR THE COUNTY OF PIERCE
        6

        7
             MAKENZIE and ERIC ZUERN, on behalf of
             themselves and all others similarly situated,
        8
                            Plaintiffs,                         Case No.
        9
                    vs.
       10
                                                                CLASS ACTION COMPLAINT
             IDS PROPERTY CASUALTY INSURANCE
       11
             COMPANY, a foreign insurer;
             AMERIPRISE INS. CO., a foreign insurer;
       12
             and AMERIPRISE AUTO & HOME INS., a
             foreign insurer,
       13
                            Defendants.
       14

       15
                                           CLASS ACTION COMPLAINT
       16
                    Plaintiffs Makenzie and Eric Zuem (collectively "Plaintiffs") bring this class action on
       17
             behalf of themselves and all others similarly situated, by and through undersigned counsel, and
       18
             for their Complaint against IDS Property Casualty Insurance Company ("IDS"), Ameriprise
        19
             Ins. Co. ("Ameriprise Ins."), and Ameriprise Auto & Home Ins. ("Ameriprise Auto & Home")
       20
             (collectively "Ameriprise" or "Defendants") state and allege as follows:
       21
                                                   INTRODUCTION
       22
                    1.      This is a class action whereby Plaintiffs seek, for themselves and all other
       23
             similarly situated insured customers or former customers of Ameriprise, declaratory and


             CLASS ACTION COMPLAINT - I                                              NELSON BOYD, PLLC
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             injunctive relief, as well as compensatory damages and other appropriate remedies, resulting

             from Ameriprise's common policy and general business practice of using unpermitted,

             inappropriate, nonitemizcd and/or unvcrinable adjustments to improperly reduce insureds' total

        4    loss valuations and claims payments in violation of Washington law and its contractual

        5    obligations.

        6           2.       When valuing total loss claims for vehicles, it is improper for an automobile

        7    insurance company, such as Ameriprise, to undervalue and underpay the claims by

        8    manipulating the data used to value the vehicles. Specifically, as proscribed by WASH. .ADMIN'.

        9    CODE § 284-30-391, when settling a total loss claim under its collision or comprehensive

        10   coverages by paying an insured the actual cash value of the loss vehicle, insurers must base ail

        11   vehicle valuations on itemized and verifiable dollar amounts, making only "appropriate

        12   deductions or additions for options, mileage, or condition when determining comparability."

        13          3.       Notwithstanding, Ameriprise uses a valuation process that employs unpermitted,

        14   inappropriate, nonitemized and unverifiable adjustments to reduce the value of comparable

        15   vehicles specified in the valuation reports, which in turn reduces the vehicle valuation of the

        16   total loss vehicle, as well as the claim payment to the insured.

        17          4.      This pattern and practice of undervaluing comparable and total loss vehicles

        18   when paying first-party automobile total loss claims, which beneilts the insurer at the expense

        19   of the insured, is not pennitted under Washington law nor the terms of Ameriprise's policies

       20    with its insureds.

       21                                    .JURISDICTION AND VENUE

       22           5.       Plaintiffs and all proposed class members are citizens of the State of

       23    Washington. Ameriprise is an insurance company authorized to do business in the Slate of



             CLASS ACTION COMPLAINT- 2                                               NI-l.SON BOYD. PLLC
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             Washington, and, at all relevant limes hereto, was engaged in the marketing, sale and issuance

             ofaulomobiie insurance policies in ihe State of Washington.

                     6.     The compensatory damages being sought by Plaintiffs do not e.xceed 575,000,

        4    and no individual member of the Class would possess a compensatory damage claim in excess

        5    of 575,000. Additionally, Plaintiffs in good faith estimate that the aggregate compensator)'

        6    damages claimed by Plaintiffs and the Class are below the 55,000,000 federal jurisdictional

        7    threshold under the Class Action fairness Act ("CAFA").

        S            7.     Accordingly, this Court has jurisdiction over the parties and the subject matter

        9    of this action, and venue is proper.

        10                                              PARTIES

        11           8.     Plaintiff, Makenzie Zuern, resides in King County and is a citizen of the stale of

        12   Washington. At all relevant times hereto, Plaintiff was contracted with Ameriprise for

        13   automobile insurance. On or about August 4, 2017, Plaintiffs insured vehicle was deemed a

        14   total loss.

        15           9.     Plaintiff, Eric Zuern, resides in King County and is a citizen of the state of

        16   Washington. At all relevant times hereto, Plaintiff was contracted with Ameriprise for

        17   automobile insurance. On or about August 4, 2017, Plaintiffs insured vehicle was deemed a

        18   total loss.

        19           10.    Defendant IDS Property Casualty Insurance Company is a property and casualty

       20    insurance company. IDS markets, operates, and provides claims handling under the logo

       21    "Ameriprise" or "Ameriprise Auto & Home Insurance." Defendant IDS's corporate

       22    headquarters is located at 3500 Packerland Dr., DePere, Wl 54115-9070. Defendant IDS

       23


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             conducis business throughout the state of Washington, including in Pierce County, and

             throughout most of the United States through insurance agents and other company personnel.

                    11.    Defendant Ameriprise Ins. Co. is a propert>' and casualty insurance company.

        4    Ameriprise Ins. markets, operates, and provides claims handling under the logo "Ameriprise"

        5    or "Ameriprise Auto & Home Insurance." Defendant Ameriprise Ins.'s corporate headquarters

        6    is located at 3500 Packcrland Dr., DePere, Wl 54115-9070. Defendant Ameriprise Ins. Co.

        7    conducis business throughout the stale of Washington, including in Pierce County, and

        8    throughout most of the United Slates through insurance agents and other company personnel.

        9           12.    Defendant Ameriprise Auto & Home Insurance provides marketing and claims

        10   handling for IDS and Ameriprise Ins. Defendant Ameriprise Auto & Home's corporate

        11   headquarters is located at 3500 Packerland Dr., DePere, Wl 54115-9070. Defendant Ameriprise

        12   Auto & Home Insurance conducts business throughout the state of Washington, including in

        13   Pierce County, and throughout most of the United Slates through insurance agents and other

        14   company personnel.

        15                                   FACTUAL ALLEGATIONS

        16   A.     Ameriprise's Policy and Improper Valuation of Total Loss Claims.

       17           13.    IDS is an insurance company registered with Washington's Office of the

        18   Insurance Commissioner, which, according to the website www.ameriprise.corn, markets its

        19   products, collectively with Ameriprise Ins., under the name Ameriprise Auto & Home

       20    Insurance. Upon information and belief, IDS and Ameriprise Ins. conduct business through

       21    Ameriprise Auto & Home pursuant to the same policies, utilizing the same website, letterhead,

       22    address, telephone number, and central office.

       23


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                   14.     Plaintiffs, like all proposed class members, currenlly have, had, or were covered

            under a contract of automobile insurance with Ameriprise. The contract of insurance between

            Plaintiffs, as well as each proposed class member, and Ameriprise provides coverage for the

        4   total loss of a vehicle in a collision on the basis of the "actual cash value" of the vehicle or the

        5   "[ajmount necessary to repair or replace the propeny." See. Exhibit I (Policy) at pp. 4 and 18.

        6   The actual cash value is determined, in part, by applying WASH. ADMIN. CODE § 284-30-391.

        7   The material policy language for all policies issued by IDS and Ameriprise Ins., through

        8   Ameriprise Auto «& Home, during the relevant time period is identical or substantially the same.

        9          15.     WASH. ADMIN. CODE § 284-30-391(2) provides that in those circumstances

       !0   where an insurer makes a cash settlement offer on an insured's total loss claim, the cash

       11   settlement must be "based on the actual cash value of a comparable motor vehicle."

       12          16.     WASH. ADMIN. CODE § 284-30-39l(4)(b) further provides that when settling an

       13   insured's total loss claim, an insurer must "[bjase all offers on itemized and verifiable dollar

       14   amounts for vehicles that are currently available, . . ., using appropriate deductions or additions

       15   for options, mileage or condition when determining comparability." This provision limits the

       16   categories of appropriate deductions to "options, mileage or condition" and requires itemization

       17   and verification so as to ensure that (i) any adjustments are reasonable, measurable, justified

       18   and fully explained to insureds, and (ii) insureds have the ability to evaluate and challenge any

       19   deductions that are not proper.

       20          17.     Systemically, Ameriprise fails to offer and pay the actual cash value, takes

       21   unpermitted and inappropriate deductions, fails to properly itemize and explain deductions

       22   taken, and undervalues comparable and loss vehicles when settling Urst-party automobile total

       23   loss claims.



            CLASS ACTION COMPLAINT - 5                                                 NELSON BOYD. PLl.C
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                   18.    Ameriprise bases its valuations and payments on total loss claims on

        2   manipulated data and valuation reports that do not meet Ameriprisc's duties under Washington

        3   law, imposing unpermitted, inappropriate, nonitemized, unverified and une.xplained "typical

        4   negotiation" adjustments to artificially reduce the values of comparable vehicles.

        5          19.     Upon information and belief, to calculate its valuations and claims payments,

        6   Ameriprise employs a routine total loss settlement process. This process involves Ameriprise

        7   obtaining a market valuation report from a third-party company called AudaExplore North

        8   America, Inc. ("AudaExplore"). These market valuation reports purport to contain values for

        9   comparable vehicles recently sold or for sale in the geographic area of the insured. The repons

       10   also contain a purported valuation for the loss vehicle based upon the data for the comparable

       1]   vehicles in the report. Upon information and belief, Ameriprise instructs AudaExplore as to

       12   what specific data to include in the report as the basis for the valuation, including whether to

       13   include a "typical negotiation" adjustment to the comparable vehicles.

       14          20.     As a general business practice, Ameriprise offers its insureds a claim amount

       15   equivalent to the valuation of the loss vehicle that is specified in the market valuation report

       16   prepared by third-party AudaExplore.

       17          21.     The market valuation reports reduce the estimated value to comparable vehicles,

       18   applying a "typical negotiation" adjustment. These adjustments are not permitted, are based on

       19   undisclosed and unfounded assumptions, and arc inappropriate, nonitemized, unverified, and

       20   unexplained in violation of Washington law and contrary to Ameriprise's contractual

       21   obligations. The application of unpermitted, unfounded, inappropriate, nonitemized, unverified,

       22   and une.xplained adjustments to reduce the value of comparable vehicles artificially reduces the

       23



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        1   valuation of the loss vehicle to benefit the insurer at the expense of the insured by systemically

        2   reducing the amount Ameriprise has to pay its policyholders for their valid claims.

        3   B.      Ameriprise Undervalued and Underpaid PlaintifTs* Total Loss Claim.

        4           22.       Plaintiffs owned a 2014 Nissan Rogue S 4WD 4D Wagon that was deemed a

        5   total loss on or about August 4, 2017.

        6           23.       Plaintiffs made a claim with Ameriprise for the total loss of their vehicle.

        7           24.       Ameriprise provided a total loss valuation to Plaintiffs for their total loss claim.

        8   Ameriprise based its offer upon a valuation report obtained from AudaExplore.

        9           25.       Ameriprise valued Plaintiffs' total loss claim at $17,511' and paid Plaintiffs that

       10   amount. Ameriprise's valuation was based on an AudaExplore market valuation report titled

       11   "Autosource Market-Driven Valuation." The Autosource Market-Driven Valuation listed

       12   values of five different comparable vehicles and applied a "typical negotiation" adjustment of

       13   approximately 6.4% to all five vehicles, decreasing the value of each of the comparable

       14   vehicles by approximately $1,100. These unpermitted, unfounded, inappropriate, nonitemized,

       15   unverified, and unexplained adjustments were violative of Washington law and contrary to

       16   Ameriprise's contractual obligations, and they resulted in an underpayment on Plaintiffs' claim

       17   of approximately $1,100.

       18                                       CLASS ACTION ALLEGATIONS

       19           26.       This action is brought by Plaintiffs as a class action, on their own behalf and on

       20   behalf of all others similarly situated, under the provisions of CR 23(a) and 23(b)(2), or,

       21   alternatively, 23(b)(3), for declaratory judgment, monetary restitution, plus interests, injunctive

       22

       23
             This amount is not inclusive of tax, title, and transfer fees.


            CLASS ACTION COMPLAINT - 7                                                   NELSON BOYD, PLLC
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             relief, costs and attorney's fees. Plaintiffs seek certification of this action as a class action on

             behalf of the following class (the "Class"):

                    All persons insured by a contract of automobile insurance issued by Ameriprise
                    to a Washington resident, and who, from the earliest allowable lime through the
        4           date of resolution of this action, received compensation for the total loss of their
                    vehicles under their First Part>' Coverages (Comprehensive, Collision, and UIM)
        5           and received a total loss valuation from Ameriprise based upon an Audalixplore
                    valuation.
        6
                    27.     Excluded from the Class are the Defendants, any parent, subsidiary, affiliate, or
        7
             controlled person of the Defendants, as well as the officers, directors, agents, servants or
        8
             employees of the Defendants and the immediate family members of any such person. Also
        9
             excluded is any judge who may preside over this cause of action.
       10
                    28.     The exact number of the Class, as herein identified and described, is not known,
        11
             but it is estimated to be at least one hundred. Accordingly, the Class is so numerous that
        12
             Joinder of individual members herein is impracticable.
        13
                    29.     There are common questions of law and fact in the action that relate to and
        14
             affect the rights of each member of the Class and the relief sought is common to the entire
        15
             class. In particular, the common questions of fact and law include:
        16
                            a. Whether Ameriprise systemically applied a "typical negotiation" adjiistment
        17
                                to comparable vehicles to calculate the value of total loss vehicles;
        18
                            b. Whether, through the above referenced practice, Ameriprise breached its
        19
                                contracts with its insureds;
       20
                            c. Whether, through the above referenced practice, Ameriprise breached the
       21
                                common law duty of good faith and fair dealing;
       22
                            d. Whether, through the above referenced practice, Ameriprise violated WASH.
       23
                                ADMIN. CODl- § 284-30-391;


             CLASS ACTION COMPLAINT-8                                                   NELSON BOYD. I'lJ.C
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                              e. Whether, through the above referenced practice, Ameriprise violated the

                                 Consumer Protection Act, REV. CODE OF WASH. § 19.86.020;

                              f. Whether Plaintiffs and the Class are entitled to declaratory and injunctive

        4                        relief; and

        5                     g. Whether Plaintiffs and the Class are entitled to compensatory damages in the

        6                        amount of the invalid "typical negotiation" adjustment applied to Plaintiffs

        7                        and each Class member's valuation.

        8           30.       The claims of the Plaintiffs, who are representative of the class herein, are

        9    typical of the claims of the proposed class, in that the claims of ail members of the proposed

        10   class, including the Plaintiffs, depend on a showing of the acts of Ameriprise giving rise to the

        11   right of Plaintiffs to the relief sought herein. There is no conilict between the individually

        12   named Plaintiffs and other members of the proposed Class with respect to this action, or with

        13   respect to the claims for relief set forth herein.

        14          31.       The named Plaintiffs are the representative parties for the Class, and are able to,

        15   and will fairly and adequately, protect the interests of the Class. The attorneys for Plaintiffs

        16   and the Class arc experienced and capable in complex civil litigation, insurance litigation and

        17   class actions.

        18          32.       Class certification is appropriate under CR 23(b)(2) because .Ameriprise's

        19   actions are generally applicable to the Class as a whole, and Plaintiffs seek equitable remedies

       20    with respect to the Class as a whole.

       21           33.       Class certification is also appropriate under CR 23(b)(3) because the common

       22    questions of law and fact in this case predominate over questions affecting only individual

       23    members of the class, and a class action is the superior method for fair and etTcienl



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             adjudicaiion of the controversy. The likelihood that individual members of the class will

             prosecute separate actions is remote due to the lime and expense necessary to conduct such

             litigation. The class action procedure would permit a large number of injured persons to

        4    prosecute their common claims in a single forum simultaneously, efncienlly, and without

        5    unnecessary duplication of evidence and effort.         Class treatment also would permit the

        6    adjudication of claims by class members whose claims are too small and complex to

        7    individually litigate against a large corporate defendant.

        8                                     FIRST CAUSE OF ACTION
                                              BREACH OF CONTRACT
        9
                    34.     Plaintiffs hereby repeal and reallege all preceding paragraphs contained herein.
        10
                    35.     Ameriprise's insurance contract with its insureds provides coverage for the total
        11
             loss of a vehicle in a collision on the basis of actual cash value of the vehicle or the amount
        12
             necessary to replace the insured vehicle with a vehicle of like kind and quality. The actual cash
        13
             value is determined, in part, by applying WASH. ADMIN. CODI- § 284-30-391.
        14
                    36.     Ameriprise has breached its contract with Plaintiffs and the members of the
        15
             Class by not paying total loss claims upon the actual cash value of loss vehicles. Ameriprise
        16
             departed from the use of actual cash value by basing its valuations and claims payments on the
        17
             values of comparable vehicles that have been artificially reduced by unpermitted, arbitraiy and
        18
             unjustified negotiation adjustments that are indiscernible, and/or unexplained.
        19
                    37.     Ameriprise's breaches have resulted in a systemic failure to pay the actual cash
       20
             value olTolal loss vehicles as required under the contract.
       21
                    38.     Ameriprise's breaches and violations have caused damage to Plaintiffs and the
       22
             Class. Plaintiffs' and proposed Class members' damages include the amounts illegally deducted
       23
             by Ameriprise from the insureds' payments.


             CLASS ACTION COMPLAINT - 10                                              NELSON IJOYD. PLLC
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                                   SECOND CAUSE OF ACTION
                      BREACH OF COVENANT OF GOOD FAITH AND FAIR DEALING

                   39.      Plaintiffs hereby repeat and reallege all preceding paragraphs contained herein,

                   40.     Ameriprise owed Plaintiffs and each Class member a duty of good faith and fair
        4
            dealing at all times during the c.xistence of the insurance contract and while providing
        5
            automobile insurance coverage, including when handling, adjusting, and settling total loss
        6
            claims for its insureds.
        7
                   41.     Ameriprise purposefully and without regard to the rights of the Plaintiffs and the
        8
            Class, failed to pay the actual cash value of total loss vehicles.
        9
                   42.     Ameriprise's acts, including valuing and paying insureds' total loss claims on
       10
            valuations of comparable vehicles that had been artificially reduced by unpermitted,
       11
            inappropriate, nonitemized, unverified, and unexplained negotiation adjustments, were unfair,
       12
            unreasonable, and unfounded.
       13
                   43.     Through the above referenced acts, Ameriprise breached the insurance contract
       14
            and the covenant of good faith and fair dealing.
       15
                   44.     Ameriprise's breaches of the covenant of good faith and fair dealing have
       16
            caused damage to Plaintiffs and the Class.
       17
                                        THIRD CAUSE OF ACTION
       18                       VIOLATION OF CONSUMER PROTECTION ACT
                                      REV. CODE OF WASH. § 19.86.020
       19
                   45.      Plaintiffs hereby repeat and reallege all preceding paragraphs contained herein.
       20
                    46.     Rizv. CODE OF WASH. § 19.86.020 provides "[ujnfair methods of competition
       21
            and unfair or deceptive acts or practices in the conduct of any trade or commerce are hereby
       22
            declared unlawful." RFV. CODFOF WASH. § 19.86.020.
       23


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                     47.   Aincriprisc was, at all relevant times, engaged in "trade or commerce" as

            defined by RF,V. CODB OF WASII. § 19.86.020,

                     48.   Ameriprise's acts, practices, and policies complained of herein are unfair and/or

            deceptive acts or practices that have the capacity to and do deceive consumers. Ameriprise

            unreasonably, and in bad faith, fails to value and pay its insureds' total loss claims on the basis

        6   of actual cash value, applies unpermitted and inappropriate "typical negotiation" adjustments,

        7   fails to itemize and explain deductions taken, and arbitrarily undervalues comparable and loss

        8   vehicles when settling first-party automobile total loss claims.

        9            49.    Ameriprise failed to adopt and implement reasonable standards for the

       10   investigation of its insureds' total loss claims.

       11            50.    Ameriprise further made false and/or misleading representations as to the nature,

       12   characteristics, and benefits of its total loss coverage by making representations that they were

       13   of a particular standard, quality, or grade with knowledge they were not. Ameriprise also made

       14   false and/or misleading representations that it properly investigated the value of Plaintiffs' total

       15   loss using a valuation model that purported to be valid, reasonable, and compliant with state

       16   law.

       17            51.    Ameriprise's conduct is part of a uniform course of conduct (hat has an impact

       18   on the public interest.

       19            52.    Ameriprise's conduct, as described herein, violates the Washington Consumer

       20   Protection Act, including, but not limited to. REV. CODE OF WASM, § 19.86.020.

       21                                    FOURTH CAUSE OF ACTION
                                             DECLARATORY JUDGMENT
       22
                     53.    Plaintiffs hereby repeat and reallege all preceding paragraphs contained herein.
       23


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                    54.     An actual case and controversy within the meaning of Washington Uniform

             Declaratory Judgments Act. chapter 7.24 RCW, which may be adjudicated by this Court exists

             between Plaintiffs and the proposed Class and Aineriprise.

        4           55.     Plaintiffs, for themselves and on behalf of the Class, seek a declaration of rights

        5    and liabilities of the parties herein. Specifically, Plaintiffs are seeking a declaration that in

        6    paying total loss claims with first-party insureds, it is a violation of Washington law and the

        7    insurance contract with Ameriprise for Ameriprise to base the valuation and payment of claims

        8    on values of comparable vehicles that have been reduced by deductions that are not provided

        9    for in WASH. ADMIN. CODIL § 284-30-391 and/or otherwise are unfounded, inappropriate,

        10   nonitemizcd, unverified, and/or unexplained.

        11          56.     Ameriprise's unlawful common policy and general business practice as

        12   described herein are ongoing. Accordingly, Ameriprise has violated, and continues to violate,

        13   Washington law.

        14          57.     As a result of these violations of Washington law, Plaintiffs and the proposed

        15   Class members have been injured. Plaintiffs' and proposed Class members' damages include

        16   the amounts illegally deducted by Ameriprise from the insureds' payments.

        17          WHEREFORE, Plaintiffs, individually and on behalf of all others similarly situated,

        18   respectfully requests that this Court;                    /

        19          a)              determine that this action may be maintained as a class action under

       20                           Civil Rule 23, appoint Plaintiffs as class representatives, and appoint

       21                           undersigned counsel as Class Counsel;

       22           b)              enter an order finding that Amcriprisc's actions described herein

       23                           constitute a breach of contract:



             CLASS ACTION COMPLAINT- 13                                                 NLI-SON BOYD. PLLC
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                  c)           enter a declarator)' Judgment that in paying total loss claims with first-

                               party insureds, it is a violation of Washington law and the insurance

                               contract with Ameriprise for Ameriprise to base the valuation and

        4                      payment of claims on values of comparable vehicles that have been

        5                      reduced by deductions that are not provided for in WASH. ADMIN'. CODE

        6                      § 284-30-391 and/or otherwise unfounded, inappropriate, nonitemized,

        7                      unverified, and/or unexplained:

        8         d)           enter an order enjoining Ameriprise from basing the valuation and

        9                      payment of claims on values of comparable vehicles that have been

        10                     reduced by deductions that are not provided for in WASH. ADMIN'. CODE

        11                     § 284-30-391 and/or otherwise unfounded, inappropriate, nonitemized,

        12                     unverilled, and/or unexplained;

        13        e)           enter an order requiring Ameriprise to pay compensatory damages to

        14                     Plaintiffs and all members of the proposed class in the amount of 100%

        15                     of the proceeds that Ameriprise wrongfully deducted from their insureds'

        16                     payments due to the application of a "typical negotiation" adjustment or

        17                     alternatively enter an order requiring Ameriprise to prepare a total loss

        18                     valuation for Plaintiffs and each member of the Class that does not

        19                     include any "typical negotiation" adjustment or any other deduction that

       20                      is   unfounded,     inappropriate,   noniiemized,      unverified,        and/or

       21                      unexplained;

       22          0           award pre-judgment and post-Judgment interest at the maximum rate

       23                      permitted by applicable law.



             CLASS ACTION COMPLAINT- 14                                           NELSON BOYD, PLl.C
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                   g)           award reasonable attorneys' fees and costs pursuant to applicable law;

                   h)           award treble damages pursuant to applicable law;

                   i)           award litigation costs and expenses pursuant to applicable law; and

        4         j)            grant such other legal and equitable relief as the Court may deem

        5                       appropriate.

        6

        7                       Dated this 25th day of October 2019.

        8

        9                                             NELSON BOYD, PLLC

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